           CASE 0:19-cr-00085-PAM-LIB Document 63 Filed 01/02/20 Page 1 of 1

Kyle D. White
Attorney at Law ____________________________332 Minnesota Street · Suite W-1610 · St. Paul, MN 55101
                                              Telephone: 651-227-8751 · Facsimile: 651-251-9923

January 2, 2020


The Honorable Paul A. Magnuson
United States District Court Judge
Warren E. Burger Federal Bldg.
316 North Robert Street, Suite 734
St. Paul, Minnesota 55101

RE: United States v. Seth Robert Ronning
    Criminal No. 19-CR-85)(PAM/LIB)

Dear Judge Magnuson:

This letter is a formal request asking the court to reconsider its decision and order of
December 30, 2019 regarding continuance and status conference motions. [Docket 62]
Specifically, the defendant would note that the pretrial hearing on defendant’s motions
requesting additional DNA evidence was last July 12th and the court’s order permitting
the defendant access to this additional DNA evidence was filed on July 31, 2019 (Docket
49). However, due to mistakes made by the Government or more notably the Minnesota
Bureau of Criminal Apprehension the wrong individual’s DNA was provided. The
Government did not correct those mistakes until just recently, December 16th, giving the
defense very little time to review this evidence with its expert and the defendant. Hence,
the delays were not caused by the defendant, but more accurately by the Government.
Additionally, the defendant has continually asked through his investigator and counsel for
all discovery from two separate law enforcement jurisdictions, namely Superior,
Wisconsin and Duluth, Minnesota regarding video camera footage and have been met
with zero response from these law enforcement agencies.

Thank you for your kind consideration.

Very truly yours,

/s/Kyle White
Kyle D. White
Attorney

cc:    United States Attorney
       Client
